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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



 MEDALLIA INC.,

       Plaintiff,
                                             CIVIL ACTION FILE
 v.
                                             NO. 1:23-cv-3730-TCB
 ECHOSPAN, INC.,

       Defendant.



                                   ORDER

      This case comes before the Court on the motion [46] of Defendant

EchoSpan, Inc. for judgment on the pleadings. 1

I.    Background

      On November 14, 2022, Plaintiff Medallia Inc. filed this suit

against EchoSpan for patent infringement of U.S. Patent No.

10,963,639 (“’639 Patent”) in the U.S. District Court for the Middle

District of Florida.




      1 On January 5, 2024, EchoSpan filed a supplemental brief [53] to address

the additional claims that Medallia added in its infringement contentions.
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     On August 21, 2023, the Florida district court issued an order [23]

granting and denying in part EchoSpan’s motion to dismiss for

improper venue and transferred the case to this Court.

     The ’639 Patent, titled “Systems and Methods for Identifying

Sentiment in Text Strings,” “relates to analyzing the sentiment of text

provided in feedback, which involves determining whether the text in

feedback expresses positive, negative, neutral, or mixed sentiments.” [1]

¶¶ 8, 9. Specifically, the ‘patent protects a “computer-implemented

method” that can receive and evaluate text input using a two-model

system. The method first uses a “universal sentiment analysis model” to

“process sentiment for data sets across multiple clients or parties in the

same or different business domains.” [1-1] at 13. But “because the

context of the sentiments can be different from one business domain to

the next,” the method also utilizes a “secondary sentiment analysis

model.” Id. This “secondary sentiment analysis model” is “custom

tailored to a particular client . . . to verify whether the initial sentiment

or a secondary sentiment should be used.” Id.




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      The ’639 patent has 22 claims: claims 1 and 22 are independent,

and claims 2–21 depend from claim 1. 2

      Claim 1 is a five-step “computer-implemented method,” described

as follows:

      [1] receiving a text input;
      [2] evaluating the text input with a first model to determine
      an initial sentiment and confidence thereof;
      [3] if the confidence exceeds, or is equal to, a threshold, using
      the initial sentiment;
      [4] if the confidence is below the threshold, accessing a list
      including at least one secondary sentiment and evaluating
      the text input, in combination with each secondary
      sentiment, with a relevantly similar analysis model to
      generate a relevantly similar confidence (RSC) score
      corresponding to each secondary sentiment included in the
      list, wherein an evaluation of each generated RSC score
      determines whether to use the initial sentiment or a
      secondary sentiment as a resolved sentiment; and
      [5] displaying the resolved sentiment associated with the
      text string.

[1-1] at 16.

      Claim 22 claims a “computer-implemented method”

comprising of six steps:


      2 Medallia asserts that EchoSpan infringed claims 1–12 and claim 22 of the

’639 Patent. EchoSpan analyzed only those claims as representative of all claims of
the ’639 Patent. The Court is able to treat these claims as representative because
Medallia, “the patentee[,] does not present any meaningful argument for the
distinctive significance of any claim limitations not found in the representative
claim.” Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018) (citations
omitted).


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      [1] training a relevantly similar analysis model that is
      operative to analyze a text input to determine whether the
      text input is relevantly similar to other text inputs, the
      training comprising:
      [2] receiving a text seed;
      [3] retrieving a plurality of text strings determined to be
      similar to the text seed from a database;
      [4] assessing each of the plurality of text strings to identify
      which of the plurality of text strings are relevantly similar to
      the text seed; and [sic]
      [5] using the text strings identified to be relevantly similar
      as training inputs for the relevantly similar analysis model;
      and
      [6] using the relevantly similar analysis model to produce
      second order sentiment results for text inputs when first
      order sentiment results for the text inputs do not meet
      confidence criteria.

Id. at 17.

II.   Legal Standard

      A party may move for judgment on the pleadings “[a]fter the

pleadings are closed—but early enough not to delay trial.” FED. R. CIV.

P. 12(c). “[A] motion for judgment on the pleadings . . . is subject to the

same standard as a Rule 12(b)(6) motion to dismiss.” Payne v. Doco

Credit Union, 734 F. App’x 623, 627 (11th Cir. 2018) (per curiam)

(quotation omitted). “Judgment on the pleadings is appropriate when

there are no material facts in dispute, and judgment may be rendered

by considering the substance of the pleadings and any judicially noticed



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facts.” Hart v. Hodges, 587 F.3d 1288, 1294 n.4 (11th Cir. 2009) (quoting

Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir.

1998)). In evaluating a motion for judgment on the pleadings, the Court

must accept all well-pleaded facts in the complaint as true and view

them in the light most favorable to the nonmoving party. See

Hawthorne, 140 F.3d at 1370.

III. Discussion

     EchoSpan’s motion asks this Court to rule that the ’639 Patent is

directed to patent-ineligible subject matter—an abstract idea—and is

thus invalid under 35 U.S.C. § 101 and Alice Corp. v. CLS Bank

International, 573 U.S. 208 (2014). Specifically, EchoSpan contends that

the patent is directed to the abstract idea of “sentiment analysis using

conventional data processing methods” without any “additional

inventive concept.” [60] at 6.

     Medallia responds by contending that the ’639 Patent establishes

a “method of using a computer system with a two-model configuration

that enables efficient sentiment analysis over a range of contexts,

users[,] and businesses.” [57] at 17. It contends that this “specific




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machine learning configuration” improves operation and is a “concrete

technological solution[] that [is] patentable subject matter.” Id. at 19.

     Section 101 defines patent-eligible subject matter as “any new and

useful process, machine, manufacture, or composition of matter, or any

new and useful improvement thereof.” The Supreme Court has “long

held that this provision contains an important implicit exception: Laws

of nature, natural phenomena, and abstract ideas are not patentable.”

Ass’n for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576,

589 (2013) (quotation omitted). But there is a limit to these exceptions

because “too broad an interpretation of this exclusionary principle could

eviscerate patent law.” Mayo Collaborative Servs. v. Promethus Labs.,

Inc., 566 U.S. 66, 71 (2012).

     In Alice Corp., the Supreme Court established a two-step

framework for determining whether claims are patent-eligible. First,

the Court must “determine whether the claims at issue are to a patent-

ineligible concept.” Alice Corp., 573 U.S. at 218. For this step, the Court

examines “the claim elements both individually and in combination.”

Mobile Telecomms. Techs., LLC v. United Parcel Serv., Inc., 173 F.

Supp. 3d 1324, 1329 (N.D. Ga. 2016) (citations omitted). This step



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involves considering claims “in their entirety to ascertain whether their

character as a whole is directed to excluded subject matter.” Internet

Pats. Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015).

Specifically, the Court considers “what the patent asserts to be the focus

of the claimed advance over the prior art.” Hawk Tech. Sys., LLC v.

Castle Retail, LLC, 60 F.4th 1349, 1356 (Fed. Cir. 2023) (quotation

omitted). “If the claims are not directed to an abstract idea, the inquiry

ends.” McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299,

1312 (Fed. Cir. 2016).

     However, even if the claims are directed to an abstract idea, the

subject matter can still be patentable under Alice Corp.’s step two if the

claims as a whole and the individual claim elements contain “an

element or combination of elements that is sufficient to ensure that the

patent in practice amounts to significantly more than a patent upon the

[abstract idea] itself.” Alice, 573 U.S. at 217–18 (quotation omitted). But

merely “appending conventional steps, specified at a high level of

generality, to the abstract idea is not enough to create a patentable

invention.” Mobile Telecomms. Techs., 173 F. Supp. 3d at 1329

(quotation omitted).



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     Simply, Alice Corp.’s first step looks at the “focus of the claims

[and] their character as a whole,” while the second step looks “more

precisely at what the claim elements add.” Elec. Power Grp., LLC v.

Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016) (internal punctuation

and citations omitted).

     EchoSpan presents three arguments to support its contention that

the ’639 Patent protects patent-ineligible subject matter: (1) sentiment

analysis using multiple known computing models is an abstract idea;

(2) the patented methods can be readily practiced by a human without

computer assistance or with a generic computer; and (3) other courts

that have addressed similar claims have held them to be ineligible for

patent protection.

     Medallia concedes that “district court and Federal Circuit cases

have found that certain claims related to collecting and analyzing data

are directed to an abstract idea.” [57] at 25 (citation omitted). But it

argues that the ’639 Patent is different is because “it recites a method

for using a two-part computer system that is tethered to a specific way

of implementation.” Id. at 26. This two-part system allows for finer-

tuned analysis, which improves the efficiency of the overall computer



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system and “realizes improvement in, for example, extra model training

time, speed of execution, and accuracy in context-specific text inputs.”

Id. (citations omitted).

     In its brief in support of its motion, EchoSpan attempts to paint a

picture that the “universal sentiment analysis model” (the first part of

the model) and the “relevantly similar analysis model” (the second part

of the model) are “generic computing models (i.e., software).” It argues

that the patented technology merely attempts to monopolize a method

of analysis “that could be performed mentally or with pen and paper

without use of a computer.” [46-1] at 20 (citations omitted).

     Medallia asserts that EchoSpan is implicitly bypassing claim

construction proceedings by asking the Court to adopt a meaning that

the two models are “generic computing models (i.e., software).” Medallia

contends that this interpretation is incorrect. This creates an issue best

resolved at claim construction.

     As a general matter, “the absence of claim construction and the

statutory presumption of validity that exists once a patent [is] issued do

not preclude dismissal of this case at the pleadings stage, nor do they

preclude a finding of ineligibility.” Implicit LLC v. Home Depot U.S.A.,



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Inc., 676 F. Supp. 3d 1312, 1318 (N.D. Ga. 2023) (alterations omitted)

(quoting WhitServe LLC v. Dropbox, Inc., 854 F. App’x 367, 373 (Fed.

Cir. 2021)). However, “[i]f there are claim construction disputes at [this]

stage, . . . either the court must proceed by adopting the non-moving

party’s constructions, or the court must resolve the disputes to

whatever extent is needed to conduct the § 101 analysis, which may

well be less than a full, formal claim construction.” Aatrix Software, Inc.

v. Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed. Cir. 2018)

(citations omitted). “[T]he need for claim construction might be

apparent just from the claim terms themselves, to arrive at a ‘full

understanding of the basic character of the claimed subject matter.’” Id.

at 1128 (quoting Bancorp Servs., L.L.C. v. Sun Life Assur. Co. of Can.

(U.S.), 687 F.3d 1266, 1273–74 (Fed. Cir. 2012)).

     Medallia asserts that the parties dispute the meaning of two

critical claim terms—“first model” and “relevantly similar analysis

model.” Because the meaning is in dispute, Medallia asserts that the

Court is unable to get a “full understanding of the basic character of the

claimed subject matter.” Bancorp, 687 F.3d at 1273–74 (“[I]t will

ordinarily be desirable—and often necessary—to resolve claim



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construction disputes to a § 101 analysis, for the determination of

patent eligibility requires a full understanding of the basic character of

the claimed subject matter.”).

     EchoSpan contends that the Court can conduct a § 101 analysis

without claim construction, and that Medallia’s failure to provide its

proposed construction of the terms means that Medallia failed to raise a

legitimate objection that would prevent the Court from ruling on its

motion. According to EchoSpan, claim construction is unnecessary

because the ’639 Patent does not provide any information to describe

how each model operates, so claim construction of the terms would not

provide any additional clarity as to whether the ’639 Patent relates to

an inventive concept.

     The Court agrees with Medallia. The purported novelty of the ’639

Patent is that it “uses two software modules . . . [that] receiv[e] input

text in parallel and provid[e] output confidence scores” with the best

score determining whether the first or second model is used. [57] at 30.

The Court cannot have a full understanding of the basic character of the

claimed subject matter until the meanings of “first model” and

“relevantly similar analysis model” are determined.



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        When there are claim construction disputes at this stage of the

proceedings, the Court must either “adopt[] the non-moving party’s

constructions or . . . resolve the disputes to whatever extent is needed to

conduct the § 101 analysis.” Aatrix Software, 882 F.3d at 1125 (citations

omitted). As discussed, Medallia (the non-moving party) did not present

a proposed construction. And without the benefit of claim construction,

the Court is unable to resolve the dispute to conduct the necessary

analysis.3 As such, the Court will deny EchoSpan’s motion for judgment

on the pleadings.

        Given the complicated and technical nature of the claims and the

importance of clarity in the matter of claim construction, pursuant to

Federal Rule of Civil Procedure 53(b)(1), the Court hereby notifies the

parties of its intent to appoint Andrew Crain as a special master in this

case.




        3 As of the date of the filings for the briefs on the motion for judgment on the

pleading, claim construction had not begun. As such, Medallia did not present its
proposed construction of the claim terms at issue, nor the arguments to support
those constructions. As of the date of this Order, the parties submitted their joint
claim construction statement and both parties have filed their claim construction
briefs. No responsive claim construction briefs have been filed, and the Markman
hearing has not been scheduled.


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      Barring objections, Mr. Crain will review the parties’ joint claim

construction statement, their respective claim construction briefs, and

their respective replies and issue a report and recommendation (“R&R”)

on claim construction with the Court. The timelines provided in Rule

53(f) shall govern the Court’s review of Mr. Crain’s R&R.

      The Court will require the parties to each pay half of the fees

associated with Mr. Crain’s services. Mr. Crain shall preside over this

case through claim construction and through the case as it progresses,

including any motion for summary judgment.

IV.   Conclusion

      For the foregoing reasons, EchoSpan’s motion [46] for judgment on

the pleadings is denied without prejudice. In light of this ruling, the

parties shall inform the Court, on or before June 28, 2024, of any

objections to Mr. Crain’s appointment or any relationship with Mr.

Crain that would disqualify him pursuant to Rule 53(a)(2). Pursuant to

Rule 53(b)(3)(a), Mr. Crain shall file an affidavit disclosing whether

there is any ground for disqualification under 28 U.S.C. § 455.




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IT IS SO ORDERED this 14th day of June, 2024.



                            ____________________________________
                            Timothy C. Batten, Sr.
                            Chief United States District Judge




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